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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,

                Plaintiffs,
v.                                                         Case No.: 1:18-cv-2396

KIRSTJEN M. NIELSEN,
in her official capacity as Secretary, et al.,

                Defendants.



          MOTION FOR ADMISSION OF ANTHONY T. ELISEUSON TO
                       APPEAR PRO HAC VICE

        Pursuant to Civil Local Rule 83.2(d), Plaintiffs move for the admission and

appearance of attorney Anthony T. Eliseuson pro hac vice in the above-entitled action.

This motion is supported by the Declaration of Anthony T. Eliseuson, filed herewith. As

set forth in Mr. Eliseuson’s declaration, he is admitted and an active member in good

standing of the following courts and bars: State of Illinois, State of Minnesota, United

States Court of Appeals for the Fifth Circuit, United States Court of Appeals for the Sixth

Circuit, United States Court of Appeals for the Seventh Circuit, United States Court of

Appeals for the Eighth Circuit, United States Court of Appeals for the Ninth Circuit,

United States Court of Appeals for the Eleventh Circuit, United States District Court for

the Central District of Illinois, United States District Court for the District of Colorado,

United States District Court for the District of Minnesota, United States District Court for
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the Eastern District of Michigan, United States District Court for the Northern District of

Illinois, and the United States District Court for the Northern District of Indiana.

       This motion is supported and signed by Anchun Jean Su and Howard M. Crystal,

active and sponsoring members of the Bar of this Court.



DATED: October 18, 2018                       Respectfully submitted,


                                              __/s/ Anchun Jean Su______________
                                              ANCHUN JEAN SU
                                                     (D.C. Bar No. CA285167)
                                              HOWARD M. CRYSTAL
                                                     (D.C. Bar No. 446189)
                                              CENTER FOR BIOLOGICAL DIVERSITY
                                              1411 K Street N.W., Suite 1300
                                              Washington, D.C. 20005
                                              Telephone:    202-849-8399
                                              Email: jsu@biologicaldiversity.org,
                                                     hcrystal@biologicaldiversity.org

                                              Attorneys for Plaintiffs




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